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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                         CONSENT TO PROCEED BY VIDEO OR
                                                                                   TELE CONFERENCE
                             -against-
                                                                                         20-CR-500 (JGK) (SLC)


ARTHUR HAYES, BENJAMIN DELO, SAMUEL REED,
AND GREGORY DWYER
                                                 Defendants.
-----------------------------------------------------------------X

Defendant              Samuel Reed                                          hereby voluntarily consents to
participate in the following proceeding via             ___x_ videoconferencing or _X_ teleconferencing:

 X        Initial Appearance Before a Judicial Officer

 X                                                                                  ,, __ .
          Arraignment (Note: If on Felony Information, Defendant Must Sign.Sep.arat.eJlllaiver.of..
                                                                        - _,.                . ,. _    __ ___ __ -
          Indictment Form)                                                    :1 · ,rr-,~        ...,J~~:
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 X        Bail/Detention Hearing
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 X        Conference Before a Judicial Officer
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 /s/ Samuel Reed                                                      /s/ Douglas K. Vatter
Defendant's Signature                                                Defendant's Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

   Samuel Reed                                                              Douglas K. Yatter
Print Defendant's Name                                               Print Counsel's Name



This proceeding was conducted by reliable vide.......:,-r--....c

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                         (
Date
                                                                     U.S. District Judge
